

Matter of Scola (2019 NY Slip Op 08769)





Matter of Scola


2019 NY Slip Op 08769


Decided on December 5, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 5, 2019

PM-225-19

[*1]In the Matter of Ralph Joseph Scola, an Attorney. (Attorney Registration No. 2849503.)

Calendar Date: December 2, 2019

Before: Garry, P.J., Egan Jr., Lynch, Devine and Pritzker, JJ.


Ralph Joseph Scola, Aurora, Ohio, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.




Per Curiam.
Ralph Joseph Scola was admitted to practice by this Court in 1997 and lists a business address in Aurora, Ohio with the Office of Court Administration. Scola has applied to this Court, by affidavit sworn to June 27, 2019, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application on the basis that Scola omitted three material responses in his submission and, therefore, his application to resign was not in the proper form prescribed by Rules for Attorney Disciplinary Matters (22 NYCRR) § 1240.22 (a) (1) (see Rules for Attorney Disciplinary Matters [22 NYCRR] part 1240, appendix E).
In reply to AGC's opposition, however, Scola has submitted a supplemental affidavit, sworn to November 29, 2019, in which he corrects the irregularities in his prior submission. Accordingly, with AGC voicing no other substantive objection to his application, and having determined that Scola is now eligible to resign for nondisciplinary reasons (see Matter of Lavielle, 173 AD3d 1600, 1601 [2019]), we grant the application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Devine and Pritzker, JJ., concur.
ORDERED that Ralph Joseph Scola's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Ralph Joseph Scola's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Ralph Joseph Scola is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Scola is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Ralph Joseph Scola shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








